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  6

  7                               UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
  8
                                                        Case No. 8:18-cv-02295-NS-ADS
  9
                                                        REQUEST FOR ENTRY OF DEFAULT;
 10    TIFFANY COLEMAN,                                 DECLARATION IN SUPPORT THEREOF
 11                       Plaintiff,
 12
              V.
 13
       AMERICAN HONDA FINANCE
 14    CORPORATION,

 15                       Defendant.

 16          In accordance with Fed. R. Civ. P. 55(a), Plaintiff, TIFFANY COLEMAN, hereby requests
 17
      that default be entered against Defendant, AMERICAN HONDA FINANCE CORPORATION, for
 18
      failure to plead or otherwise defend.
 19
      Dated this 21'1 day of March, 2019                       Respectfully submitted,
20
                                                               TIFFANY COLEMAN
 21
                                                               By: Isl Joseph S. Davidson
22
23                                                             Joseph S. Davidson
                                                               SULAIMAN LAW GROUP, LTD.
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28                                                             WAJDA LAW GROUP, APC
                                                    1
Case 8:18-cv-02295-JVS-ADS Document 16 Filed 03/21/19 Page 2 of 4 Page ID #:52



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  1                                           DECLARATION

 2           JOSEPHS. DAVIDSON, hereby declares under penalty of perjury, pursuant to 28 U.S.C.
 3
      § 1746(2) that the following statements are true and correct:
 4
              1.     That I am an attorney for the Plaintiff, TIFFANY COLEMAN, and in that capacity
  5
      am responsible to represent the interest of Plaintiff in the above captioned matter.
  6

  7          2.      I hereby make application to the Clerk of this Court for entry of default as to

  8   defendant American Honda Finance Corporation, pursuant to Rule 55(a) of the Federal Rules of

  9   Civil Procedure, and in support of this application do show that:
 10                  A.      The defendant was personally served on January 25, 2019 at 10:40 AM,
 11
                             through its Registered Agent, with copies of Plaintiff's Sunnnons and
 12
                             Complaint as provided by Rule 4(c)(l) of the Federal Rules of Civil
 13
                             Procedure.
 14

 15                  B.      Upon Plaintiffs information and belief, the defendant, being a California

 16                          corporation with its principal place of business in Torrence, California, is

 17                          neither an infant nor an incompetent person requiring special service in
 18
                             accordance with Rule 4(g) of the Federal Rules of Civil Procedure, and is
 19
                             not serving with the armed forces of the United States entitled to the
 20
                             protection of 50 U.S.C. App. Section 520;
 21
                     C.      The defendant has neither answered nor otherwise responded formally to the
 22
 23                          Plaintiffs Sunnnons and Complaint, and the time to do so, as provided in

 24                          Rule 12(a) of the Federal Rules of Civil Procedure, has expired;
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                                                         3
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  1                     D.   Copies of this Declaration and the Request, seekmg entry of default, which

 2                           are being filed herewith, have this date been served upon the defendant by
  3
                             .regular mail, postage prepaid.
 4
              FURTHERAFFIANT SAYETHNOT.
  5

  6

  7
      SUBSCRIBED AND SWORN to
  8   before me this 21'1 day of March,
      2019.                                                       "OFFICIAL SEAL"              •••

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  9
       -A/                                                            KIRANWADIA

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                         · ·•                                   Notary _Public. State of Illinois
                                                             My Comm,ss,on Expires 11/15l2020

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